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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
            HELEN H. GLUCK,                                        Chapter 7
                                                                   Case No. 1-18-45085 (cec)
                                  Debtor.
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             ORDER APPROVING TRUSTEE’S FINAL REPORT AND AWARDING
                      FINAL COMPENSATION TO TRUSTEE

          Upon the filing by Chapter 7 Trustee, Lori Lapin Jones (“Trustee”) of the Trustee’s

Final Report dated April 30, 2019 (“Trustee’s Final Report”); the Application For

Compensation and Reimbursement of Expenses dated April 30, 2019 (“Application”) for

allowance of compensation and reimbursement of expenses to Lori Lapin Jones and no

objection having been filed to the Trustee’s Final Report, and the application for

compensation; and a hearing having been held; and notice having been given pursuant to

Federal Rule of Bankruptcy Procedure 2002(a)(6) and (c)(2); and upon the statement of the

United States Trustee regarding Trustee’s Final Report and applications for compensation

entered on the docket on May 23, 2019; and good cause appearing thereof; it is hereby


          ORDERED, that the Chapter 7 Trustee, Lori Lapin Jones is awarded commissions in

the amount of $377.18 and expenses in the amount of $16.10; and it is further


          ORDERED, that the Trustee’s Final Report is approved and the Trustee is authorized

to abandon the Debtor’s books and records; and it is further


         ORDERED, that upon the closing of this case, the Trustee shall be discharged from her
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duties; and it is further


      ORDERED, that the Trustee is authorized to perform such acts, pay such awards and

execute such documents as are necessary to implement the terms and conditions of this

Order.




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 Dated: Brooklyn, New York                                          Carla E. Craig
        July 1, 2019                                        United States Bankruptcy Judge

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